Case 2:99-cr-20229-SH|\/| Document 40 Filed 06/13/05 Page 1 of 2 Page|D 39

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IN THE UNITED sTATES DISTRICT COURT
FOR THE WESTERN DISTRICT 011 TENNESSEE 05 JU?~€ 1 3 PH 2= 05
wESTERN DIVISION

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UNITED STATES OF AMERICA W, D. OF TN, l.n.'=_.»\,#.r»w._,»

NO. 2;02 cr 20165 D/A §f§’_§f_Z_G_Z_Z_V_/”

V.
Judge Bernice Donald

ALVIN MOSS, et al

 

ORDER TO UNSEAL RECORD

Upon oral motion cf the defense and for good cause shown, it is hereby ORDERED that

the clerk Shall unseal the file in the case of United States of America v. l\/[ilton Strassberg, No.

2:99-01'-20229-G.

,z,
This /@ day ofJune, 2005.

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/ Bernice Donald, Jud'ge
United States District Court

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This notice confirms a copy of the document docketed as number 40 in
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Dan NeWsom

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Honorable Samuel Mays
US DISTRICT COURT

